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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                             LAFAYETTE DIVISION

ADRIAN GARCIA RANGEL                             )
and JANELL ALLANE RANGEL,                        )
                                                 )
                     Plaintiffs,                 )
                                                 )
              v.                                 )      4:07-CV-20 AS
                                                 )
CHRIS REYNOLDS, et al.,                          )
                                                 )
                     Defendants.                 )

                       MEMORANDUM, ORDER & OPINION

       The plaintiffs, Adrian Garcia Rangel and Janell Allane Rangel, filed a pro se

Complaint in this Court on March 12, 2007 and subsequently filed an Amended [pro se]

Complaint on March 15, 2007. The plaintiffs filed a motion for preliminary injunction

(Docket No. 7) on March 15, 2007 and a supplement to that motion (Docket No. 13) on

March 21, 2007. Plaintiffs then filed a verified motion for amended preliminary

injunction (Docket No. 40) on April 2, 2007, a supplement to that motion (Docket No.

41) on April 3, 2007, a second supplement to that motion (Docket No. 48) on April 9,

2007, and a second verified motion for amended emergency preliminary injunction

(Docket No. 54) on April 16, 2007. The plaintiffs allege claims against the various parties

pursuant to 42 U.S.C. § 1983 for violation of their due process rights.

       On April 9, 2007, defendant Chris Reynolds, a caseworker for the Tippecanoe

County Office of the Indiana Department of Child Services (“Tippecanoe County DCS”)

filed a motion to dismiss and stay pursuant to Fed. R. Civ. P. 12(b)(1). See Docket Nos.
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45 and 47. Reynolds asserted that, under Younger v. Harris, 401 U.S. 37 (1971), and its

progeny, the Court should decline at this time to exercise jurisdiction of the plaintiffs’

claims, dismiss plaintiffs’ claim for equitable relief, and stay plaintiffs’ claims for

damages. Plaintiffs filed a response to this motion to dismiss on April 16, 2007. See

Docket Nos. 52 and 53.

       In Mt. Healthy City Board of Ed. v. Doyle, 429 U.S. 274 (1977), the Supreme

Court stated that the federal courts are “obliged to inquire sua sponte whenever a doubt

arises as to the existence of federal jurisdiction.” And in Barichello v. McDonald, 98

F.3d 948, 955 (7th Cir. 1996), the Court stated, “[w]hen confronted with circumstances

that clearly implicate Younger concerns, a federal court must abstain.” Barichello, 98

F.3d at 955 (citing Colorado River Water Conservation Dist. v. U.S., 424 U.S. 800, 816,

n. 22 (1976). The Younger abstention doctrine dictates that, unless there are

extraordinary circumstances, a federal court should not adjudicate matters that are

pending in state court so long as (1) it is an ongoing state proceeding; (2) an important

state interest is involved; and (3) the federal plaintiff will be afforded an adequate

opportunity in the state proceeding to raise constitutional challenges and will be afforded

an adequate opportunity for judicial review of the constitutional claims during or after the

proceeding. Middlesex County Ethics Comm’n v. Garden State Bar Ass’n, 457 U.S. 423,

432 and 435 (1982).1 There are two exceptions to Younger: (1) where “the state

       1
         The Younger doctrine “has been extended to civil proceedings when important state
interests are involved.” Brunken v. Lance, 807 F.2d 1325, 1330 (7th Cir. 1986).

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proceeding is motivated by a desire to harass or is conducted in bad faith, Huffman v.

Pursue, Ltd., 420 U.S. 592, 611 (1975), and (2) where the case involves such

extraordinary circumstances that the plaintiff will suffer irreparable injury even though

the state action was brought in good faith, Moore v. Sims, 442 U.S. 415, 433 (1979).

       Here, the three prongs of Younger are satisfied. First, there is an ongoing state

court proceeding2 that includes the same issues that plaintiffs seek to address in federal

court – the custody of their child, L.R.3 The plaintiffs filed their complaint on March 12,

2007, while the state proceedings regarding custody of their child, L.R., were still

pending. As of the date of this order, those state court proceedings are still pending.

       Second, the interests of the State of Indiana in the welfare of children cannot be

gainsaid. The Seventh Circuit has applied the Younger doctrine to child custody matters

because the state is so “heavily involved” in the proceedings and because the state has an

independent interest in the child’s health and welfare. See Id. See also Moore, 442 U.S.

at 435 (stating that “[f]amily relations are a traditional area of state concern); 31 Foster

Children v. Bush, 329 F.3d 1255, 1260 (11 th Cir. 2003) (noting that a state has an

important interest in its own foster care system); Liedel v. Juvenile Court, 891 F.2d 1542,

1546 (11 th Cir. 1990) (asserting that pending child abuse proceedings are of vital state


       2
        The ongoing state proceeding is: In the Matter of L.R., A Child Alleged To Be A Child In
Need of Services, Cause No. 79D03-0702-JC-000036, Tippecanoe Superior Court 3.
       3
       This Court notes that, in their response, the plaintiffs concede that the first two prongs of
Younger are met by failing to address them. Rather, plaintiffs focus on the third prong of
Younger and the Younger exceptions in their response.

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concern).

       And third, the plaintiffs have not shown that the state court is not an adequate

forum to present their constitutional claims. The Supreme Court stated, “[m]inimal

respect for the state processes, of course, precludes any presumption that the state courts

will not safeguard federal constitutional rights.” Middlesex, 457 U.S. at 431. Absent

unambiguous authority to the contrary, federal courts “should assume that state

procedures will afford an adequate remedy.” Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 15

(1987). The inquiry, then, is not whether the state courts can do all that the plaintiffs wish

they could, but whether the available remedies are adequate. See Younger, 401 U.S. at

45.

       Here, Plaintiffs assert that they have not been given the opportunity for a fair

hearing on the county level and that their harm is unlikely to be corrected at the county

level. Plaintiffs argue that the violation of their due process rights cannot be remedied at

the state level and that a “subsequent de novo hearing cannot undue the interim harm

caused to constitutional rights.” Plaintiffs’ Response (Docket No. 53) at 4 (citing Gibson,

411 U.S. at 577, n. 16). But the plaintiffs have failed to establish that the ongoing state

proceedings fail to afford them an adequate opportunity to raise any alleged constitutional

challenges. Where, as here, the constitutional challenges can affect the state proceedings,

the federal court should abstain and allow the state court to resolve the federal questions

presented. See Brunken, 807 F.2d at 1331 (citing Middlesex, 457 U.S. at 431) (“State



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courts are just as able to enforce federal constitutional rights as federal courts.”).

       Moreover, the plaintiffs’ Amended Complaint does not fall within one of the

recognized exceptions to Younger. Plaintiffs first assert that the entire case against them

is built on bad faith and is motivated out of a desire to harass. To establish an entitlement

to “the bad faith exception to the Younger doctrine . . . [plaintiffs] must allege specific

facts to support her inferences of bad faith, bias, and retaliation . . . [plaintiffs] must

present more than mere allegations and conclusions.” Crenshaw v. Supreme Court of

Indiana, 170 F.3d 725, 729 (7 th Cir. 1999). The Court must be convinced that “under a

realistic appraisal of psychological tendencies and human weaknesses . . . [there is] a risk

of actual bias or prejudgment.” Withrow v. Larkin, 421 U.S. 35, 47 (1975). The record

before the Court, however, provides no persuasive evidence that any of the parties in this

case are biased or harbor bad faith toward the plaintiffs.

       Plaintiffs also assert that extraordinary circumstances exist which prevent the

application of Younger. Specifically, plaintiffs contend that “a county judge . . . involved

with a long history of blatantly violating judicial Canon 3 concerning being able to hear

DCS cases specifically” constitutes an extraordinary circumstance. Docket No. 53 at 2

(emphasis omitted). In Kugler v. Helfant, 421 U.S. 113 (1975), the Supreme Court

discussed what constitutes “extraordinary circumstances.” There, the Court stated:

       [o]nly if “extraordinary circumstances” render the state court incapable of
       fairly and fully adjudicating the federal issues before it, can there be any
       relaxation of the deference to be accorded to the state criminal process. The
       very nature of ‘extraordinary circumstances,’ of course, makes it impossible

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       to anticipate and define every situation that might create a sufficient threat
       of such great, immediate, and irreparable injury as to warrant intervention in
       state criminal proceedings. But whatever else is required, such
       circumstances must be ‘extraordinary’ in the sense of creating an
       extraordinarily pressing need for immediate federal equitable relief, not
       merely in the sense of presenting a highly unusual factual situation.

Kugler, 421 U.S. at 124-125. Then, in Moore, the Supreme Court stated that a child

custody order does not per se create great, immediate, and irreparable harm warranting

federal court intervention, particularly where the state is capable of “accommodating the

various interests and deciding the constitutional questions that may arise in child-welfare

litigation.” Moore, 442 U.S. at 434-35. This Court has reviewed the plaintiffs’

allegations of bias and harassment and concludes that there is insufficient evidence of the

extraordinary circumstance of bias that would excuse abstention. Majors v. Engelbrecht,

149 F.3d 709, 714 (7th Cir. 1998).

       Accordingly, this Court abstains from interfering in the ongoing state CHINS

proceeding by dismissing plaintiffs’ claims for equitable relief. This Court hereby stays

plaintiffs’ instant claims for damages because plaintiffs are not able to present a claim for

damages in the state court CHINS proceeding. See Id (stating that where damages are not

available in the state proceeding, “a stay is appropriate” . . . “but where they are available,

dismissal is appropriate.”).

                                      IV. Conclusion

       Based on the foregoing, this Court ABSTAINS from considering the plaintiffs’

claims under the principles of Younger, DISMISSES plaintiffs’ claims for equitable

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relief, and STAYS plaintiffs’ claims for damages because plaintiffs are not able to

present a claim for damages in the state court CHINS proceeding. To the extent that

plaintiffs’ motions for joinder (Docket Nos. 44, 50, and 55) are motions to amend the

complaint, those motions are GRANTED insofar as they are consistent with this Order.

The plaintiffs must file their amended complaint with the proper parties added and

provide summonses to the clerk’s office by Friday, April 27, 2007.


SO ORDERED.
DATED: April 18        , 2007


                                                 S/ ALLEN SHARP
                                         ALLEN SHARP, JUDGE
                                         UNITED STATES DISTRICT COURT




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